               Case 19-11466-MFW          Doc 1297      Filed 01/07/20     Page 1 of 6




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                             ) Chapter 11
                                                    )
 CENTER CITY HEALTHCARE, LLC, d/b/a                 ) Case No. 19-11466 (KG)
 HAHNEMANN UNIVERSITY HOSPITAL                      )
 et al.,                                            ) (Jointly Administered)
                                                    )
                      Debtors.                      ) Hearing: January 23, 2020 at 10:00 a.m.
                                                    )
                                                    ) Re: D.I. 1242

                       LIMITED OBJECTION AND
          RESERVATION OF RIGHTS OF PREMIER, INC. AND ITS
      SUBSIDIARIES IN RELATION TO THE DEBTORS’ SEVENTEENTH
     OMNIBUS MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE
 REJECTION OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Premier, Inc. (with its consolidated subsidiaries, including Premier Healthcare Solutions,

Inc. (“PHSI”), collectively, “Premier”) hereby files this limited objection and reservation of

rights (the “Limited Objection”) with respect to the Seventeenth Omnibus Motion of the Debtors

for Entry of an Order Authorizing the Rejection of Certain Executory Contracts and Unexpired

Leases [D.I. 1242] (the “Motion”) filed by the debtors and debtors in possession in the above-

captioned chapter 11 bankruptcy cases (collectively, the “Debtors”), pursuant to which the

Debtors seek to reject, among other things, the Premier Agreements (defined below).

                                          BACKGROUND

          1.     Certain of the Debtors and Premier entities are party to the (i) Performance

SuiteTM Solutions Subscription Agreement, executed on or about January 1, 2018, by and

between PHSI (formerly known as Premier, Inc.) and Philadelphia Academic Health System,

LLC (“Philadelphia Academic”) (as amended, along with all exhibits, solutions and ancillary

agreements and documents related to and/or referenced therein, the “Subscription Agreement”),

as well as the (ii) the Business Associate Addendum, entered into as of December 22, 2017,


                                                   1
             Case 19-11466-MFW           Doc 1297      Filed 01/07/20     Page 2 of 6




between PHSI, Premier Healthcare Alliance, L.P., any other respective Premier subsidiaries a

party thereto and Philadelphia Academic (as amended by that certain First Amendment to

Business Associate Addendum, entered into as of September 11, 2018, and as referenced and

incorporated into the Subscription Agreement in all respects) (collectively the “Premier

Agreements”). Pursuant to the Premier Agreements, Premier provides critical information

technology, intellectual property licenses and related healthcare improvement products, services

and benefits to Philadelphia Academic and certain of its affiliated entities, including certain of

the Debtors which utilize the benefits, licenses, services and products provided solely by virtue

of their status as subsidiaries or affiliates of Philadelphia Academic.

       2.      On June 30, 2019 (the “Petition Date”), the Debtors filed voluntary petitions

pursuant to chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). As of the

Petition Date, approximately $296,956.96 was due and owing to Premier pursuant to the Premier

Agreements. Since the Petition Date, Premier has continued to provide, pursuant to the Premier

Agreements, critical licenses, products and services which have greatly benefitted the Debtors in

their post-petition operations. However, to date no post-petition payments have been received by

the Debtors – despite numerous requests for follow-up by Premier's counsel and the Debtors'

promises for prompt payment. As a result, Premier is currently owed approximately $90,000 by

the Debtors for post-petition amounts incurred under the Premier Agreements.

       3.      On December 23, 2019, the Debtors filed the Motion seeking an order authorizing

the rejection of certain executory contracts and unexpired leases, including the Premier

Agreements. In short, while Premier does not object to the rejection of the Premier Agreements,

Premier does object to the Motion to the extent that, among other things, the Debtors seek to use

the Motion to further delay or avoid full payment on Premier's post-petition administrative




                                                  2
             Case 19-11466-MFW           Doc 1297       Filed 01/07/20     Page 3 of 6




claims. For that reason and the others set forth herein, Premier is hereby asserting this Limited

Objection to the Motion and further preserving its rights.

                                     LIMITED OBJECTION

A.     Premier Objects to the Debtors’ Motion to the Extent the Debtors are Seeking
       to Avoid or Further Delay Paying Premier's Post-Petition Administrative Claims.

       4.      Premier does not object to the Debtors’ ability to reject the Premier Agreements

pursuant to the Motion, but rather, Premier objects to the Motion to the extent the Debtors are

attempting to use it as a means of avoiding or continuing to delay payment of Premier’s post-

petition administrative claims. Premier’s information technology and services have provided a

substantial benefit to the Debtors, facilitating the overall provision of health care services to

patients and ensuring smooth operations on a day-to-day basis. As such, Premier’s provision of

services, products and licenses to the Debtors post-petition have been critical, actual and

necessary costs of the Debtors' operations entitling Premier's claims to administrative expense

priority. See, e.g., In re Goody's Family Clothing Inc., 610 F.3d 812, 818 (3rd Cir. 2010)

(adopting the test that “[w]hen third parties are induced to supply goods or services to the debtor-

in-possession pursuant to a contract that has not been rejected, the purposes of [administrative

claims] plainly require their claims be afforded priority”) (citation omitted).

       5.      Despite the fact that (i) Premier has continued performing post-petition under the

Premier Agreements, (ii) the Debtors have not contested Premier's post-petition invoices or

amounts due and (iii) the Debtors have assured Premier that payment on post-petition amounts

would be forthcoming (per an email from counsel dated December 2, 2019, attached hereto as

Exhibit A), Premier has yet to be paid. While Premier intends to file a motion seeking payment

of its administrative claims if such claims are not paid in short order, Premier objects to the

Motion to the extent the relief requested is intended to allow the Debtors to avoid paying



                                                   3
               Case 19-11466-MFW         Doc 1297      Filed 01/07/20      Page 4 of 6




Premier's post-petition administrative claims in full, or to further delay payment on such claims.

The provision of licenses, products and services by Premier conferred substantial benefit to the

Debtors and their estates, and the Debtors should not be entitled to avoid compensating Premier

accordingly.

B.    The Effective Date Should be the Date an Order Approving Rejection is Entered.

      6.        Notwithstanding that rejection of an executory contract cannot take effect until

the Court enters an order allowing such rejection, the Debtors' Motion seeks retroactive approval

of rejection of the Premier Agreements nunc pro tunc to the date of the Motion. See 11 U.S.C.

§365(a) (“the trustee, subject to the court’s approval, may assume or reject any executory

contract…”) (emphasis added); see also Republic Underwriters Ins. Co. v. DBSI Republic, LLC,

et al. (In re DBSI, Inc.), 409 B.R. 720, 731 (Bankr. D. Del. 2009) (“rejection becomes effective

when the bankruptcy court enters an order authorizing that rejection”); but see Motion at ⁋⁋ 12-

16. While retroactive effectiveness may be permissible under certain circumstances, in the

present case, it leaves counterparties with a choice of either continuing to incur post-petition

costs at their own expense or ceasing performance essentially in reliance only on the Debtor's

word, notwithstanding any implications that might otherwise arise under the Bankruptcy Code.

In contrast, the Debtors have provided no compelling reason for requesting retroactive relief.

Certainly if the Debtors had sought to reduce administrative claims, they could have filed the

Motion on an expedited basis or filed the Motion prior to closure of the St. Christopher's sale

with a list of proposed contracts or leases – but they did neither. Counterparties are not in the

position to know or even guess the timing of forthcoming actions of the Debtors (which notice,

after the fact, cannot cure), and counterparties are certainly not in the position to bear the burden

of any delay of the Debtors. As such, to the extent that counterparties do incur post-petition




                                                   4
             Case 19-11466-MFW           Doc 1297      Filed 01/07/20     Page 5 of 6




administrative claims prior to rejection, counterparties should be entitled to full payment of such

claims – and the Debtors' request for retroactive effectiveness of rejection should be denied.

C.     Any Order Approving the Rejection Should Expressly Provide that the Premier
       Agreements and the Parties' Obligations Thereunder Will Terminate on Rejection.

       7.      Finally, any order approving the rejection of the Premier Agreements should

include language expressly providing that the Premier Agreements, and the ongoing obligations

of all parties to the Premier Agreements (other than any surviving confidentiality, HIPAA and/or

regulatory or compliance obligations, as applicable), will terminate on the date of rejection.

While the Motion includes language regarding termination of the services underlying the

executory contracts and leases to be rejected, the actual relief sought by the Debtors does not

expressly state as much. See Motion at Page 1 ("Debtors intend to… terminate all services…"),

but see Motion at ⁋ 9 (requesting only rejection). The Premier Agreements, however, include

continuing obligations of the parties thereto, including Premier, which may not expressly

terminate on rejection. Premier therefore requests that any order approving the rejection of the

Premier Agreements must also terminate those agreements and their obligations, as noted above.

                                 RESERVATION OF RIGHTS

       8.      Premier hereby expressly reserves the right to supplement this Limited Objection

as additional information is received, and to introduce evidence at any hearing related to the

Motion, this Limited Objection and/or any future objection. Premier further reserves all of its

rights, claims, defenses and remedies with respect to the Debtors and the Premier Agreements,

including but not limited to any right to assert any claims, rights of setoff or rights of recoupment

against the Debtors, under the Premier Agreements, the Bankruptcy Code, applicable law or

otherwise.




                                                  5
             Case 19-11466-MFW           Doc 1297        Filed 01/07/20   Page 6 of 6




       WHEREFORE, for the foregoing reasons, Premier respectfully requests that (i) any order

approving the Motion expressly state that the relief granted therein shall have no impact upon

Premier's ability to assert, and receive full and prompt payment of, administrative or other claims

against the Debtors, (ii) the Debtors' request for relief nunc pro tunc to the filing of the Motion

be denied, and any rejection be effective as of the date an order is entered approving the Motion,

(iii) any order approving the Motion reflect that, upon rejection, the Premier Agreements, and

any ongoing obligations of Premier and/or the Debtors thereunder (other than any surviving

confidentiality, HIPAA and/or regulatory or compliance obligations, as applicable), shall

terminate, (iv) the Court enter an order sustaining this Objection and (v) the Court provide such

other and further relief as the Court deems just and proper.

Dated: January 6, 2020                         Respectfully submitted,
       Wilmington, Delaware

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                                                     6
